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10 Attorneys for Defendant ELIZABETH A. HOLMES

11

12
                                 UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14

15                                     SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD-SVK
17                                           )
             Plaintiff,                      )   MS. HOLMES’ MOTION TO DISMISS
18                                           )   SUPERSEDING INFORMATION
        v.
                                             )
19                                           )   Date: July 20, 2020
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                 )   Time: 10:00 AM
                                             )   CTRM: 4, 5th Floor
21           Defendants.                     )
                                             )
22                                           )   Hon. Edward J. Davila
                                             )
23
                                             )
24                                           )
                                             )
25                                           )

26

27 MS. HOLMES’ MOTION TO DISMISS SUPERSEDING INFORMATION
     CR-18-00258 EJD SVK
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 1                       MOTION TO DISMISS SUPERSEDING INFORMATION

 2          PLEASE TAKE NOTICE that on July 20, 2020, at 10:00 a.m., or on such other date and time as
 3 the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose, CA

 4 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 5 respectfully move to dismiss the Superseding Information filed on May 8, 2020. Ms. Holmes makes this

 6 motion pursuant to the Fifth Amendment to the U.S. Constitution and Rule 7 of the Federal Rules of

 7 Criminal Procedure. The Motion is based on the below Memorandum of Points and Authorities, the

 8 declaration that accompanies this motion, the record in this case, and any other matters that the Court

 9 deems appropriate.

10

11 DATED: May 18, 2020

12

13                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
14                                                       LANCE WADE
                                                         AMY MASON SAHARIA
15                                                       KATHERINE TREFZ
16                                                       Attorneys for Elizabeth Holmes

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     MS. HOLMES’ MOTION TO DISMISS SUPERSEDING INFORMATION
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          The Fifth Amendment to the U.S. Constitution protects the right of criminal defendants to be

 3 tried only upon “a presentment or indictment of a Grand Jury.” U.S. Const. amend. V. Rule 7 of the

 4 Federal Rules of Criminal Procedure implements this constitutional safeguard. Under Rule 7(a)(1), an

 5 offense “punishable . . . by imprisonment for more than one year” “must be prosecuted by an

 6 indictment.” Fed. R. Crim. P. 7(a)(1). The Rule contains only one exception to this requirement: “An

 7 offense punishable by imprisonment for more than one year may be prosecuted by information if the

 8 defendant—in open court and after being advised of the nature of the charge and of the defendant’s

 9 rights—waives prosecution by indictment.” Fed. R. Crim. P. 7(b). Ms. Holmes, through her counsel,

10 informed the government on April 10, 2020 that she does not waive prosecution by indictment. See

11 Joint Status Report, ECF No. 372, at 2, 5 n.2 (Apr. 14, 2020).

12          These rules apply, of course, to amendments to an indictment: “[A]fter an indictment has been

13 returned its charges may not be broadened through amendment except by the grand jury itself.” Stirone

14 v. United States, 361 U.S. 212, 215-16 (1960). Notwithstanding this bedrock rule, on May 8, 2020, the

15 government filed a “Superseding Information” in this case (ECF Nos. 390 and 391).

16          The Superseding Information purports to charge Ms. Holmes with wire fraud and conspiracy to

17 commit wire fraud, both of which are punishable by imprisonment for more than one year. See 18

18 U.S.C. §§ 1343, 1349. It vastly broadens the charges against Ms. Holmes by, among other things, (i)

19 doubling the length of the alleged conspiracy to defraud investors, see Superseding Information, ECF

20 Nos. 390, 391, ¶¶10-11, (ii) expanding the scope of the alleged conspiracy to defraud investors by

21 introducing additional categories of alleged victims, see id. ¶ 3; and (iii) amending the alleged uses of

22 the wires in furtherance of the alleged scheme to defraud patients, including by adding a new count of

23 wire fraud, id. ¶ 26. Because Ms. Holmes has not waived her right to prosecution by indictment, the

24 Superseding Information violates Rule 7 and the Fifth Amendment to the U.S. Constitution. It should be

25 deemed without legal effect and dismissed immediately.

26          On May 12, 2020, Lance Wade, counsel for Ms. Holmes, spoke to government counsel Robert

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     MS. HOLMES’ MOTION TO DISMISS SUPERSEDING INFORMATION
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 1 Leach to inquire into the government’s rationale for filing a patently unconstitutional information. See

 2 Wade Decl. ¶ 2. Mr. Leach refused to provide any rationale and expressed his belief that it is necessary

 3 for Ms. Holmes to be arraigned on the Superseding Information. Id. But Rule 10 contemplates that a

 4 defendant will be arraigned on an information charging felonies only when the defendant waives

 5 prosecution by indictment. See, e.g., Fed. R. Crim. P. 10 comm. notes on 2002 amendment (“The

 6 amendment does not permit waiver of an appearance when the defendant is charged with a felony

 7 information. In that instance, the defendant is required by Rule 7(b) to be present in court to waive the

 8 indictment.”). Because Ms. Holmes does not waive prosecution by indictment, convening an

 9 arraignment on this information would be pointless and a waste of the Court’s time because no

10 arraignment could actually occur. The Court should dismiss this unconstitutional information without

11 scheduling an arraignment.1

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13 DATED: May 18, 2020                                   Respectfully submitted,
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15                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
16                                                       LANCE WADE
                                                         AMY MASON SAHARIA
17                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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            1
           Ms. Holmes reserves the right to move to dismiss on substantive grounds the Superseding
26 Information or any superseding indictment, should the grand jury decide to return one, at the appropriate
   time. Ms. Holmes also reserves the right to object to the propriety of the government’s filing this
27 Superseding Information in connection with any motions to dismiss a superseding indictment.
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on May 18, 2020 a copy of this filing was delivered via ECF on all counsel

 3 of record.

 4

 5
                                                        /s/ Amy Mason Saharia
 6                                                      AMY MASON SAHARIA
                                                        Attorney for Elizabeth Holmes
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     MS. HOLMES’ MOTION TO DISMISS SUPERSEDING INFORMATION
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